Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 1 of 37 PageID# 6179




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


                                              )
 League of United Latin American Citizens –   )
 Richmond Region Council 4614, et al.,        )
                                              )
               Plaintiffs,                    )
                                              )
       v.                                     ) Civil Action No. 1:18-cv-00423-LO-IDD
                                              )
 PUBLIC INTEREST LEGAL                        )
 FOUNDATION, an Indiana Corporation,          )
 and J. CHRISTIAN ADAMS,                      )
                                              )
               Defendants.                    )
                                              )
                                              )




 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ MOTION FOR PARTIAL
                    SUMMARY JUDGMENT AS TO
         LIABILITY ON PLAINTIFFS’ DEFAMATION CLAIMS AND
 DEFENDANTS’ AFFIRMATIVE DEFENSES UNDER THE FIRST AMENDMENT AND
                  VIRGINIA’S IMMUNITY PROVISION
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 2 of 37 PageID# 6180




                                                     TABLE OF CONTENTS

                                                                                                                                             Page

 TABLE OF AUTHORITIES .......................................................................................................... ii

 INTRODUCTION ...........................................................................................................................1

 STATEMENT OF UNDISPUTED FACTS ....................................................................................3

           A.         The Individual Plaintiffs Are United States Citizens. ..............................................3

           B.         Defendants Published Actionable Statements Regarding Individual
                      Plaintiffs. ..................................................................................................................3

           C.         Defendants Knew That They Had No Basis For Their Accusations .......................7

 ARGUMENT .................................................................................................................................15

 I.        Plaintiffs Are Entitled To Summary Judgment On Their Defamation Claim
           Because They Have Established All Of The Elements Of That Claim. ............................15

           A.         The Defendants Published The Statements At Issue. ............................................16

           B.         Defendants’ Statements Were Defamatory Per Se Because They Were
                      False And Because They Accused Plaintiffs Of Multiple Felonies. ......................17

           C.         Undisputed Facts Demonstrate That Defendants Were At Least Negligent
                      In Publishing The False Statements. ......................................................................18

 II.       The Court Should Grant Summary Judgment On Defendants’ Affirmative
           Defenses Under The First Amendment And Virginia’s Immunity Provision. ..................25

           A.         The Court Should Grant Summary Judgment For Plaintiffs On The First
                      Amendment Defenses To Their State And Federal Claims. ..................................25

                      1.         Defendants have no First Amendment defense to Plaintiffs’ state-
                                 law defamation claim. ................................................................................25

                      2.         Defendants have no First Amendment defense to Plaintiffs’ federal
                                 claims under § 11(b) of the Voting Rights Act and the Ku Klux
                                 Klan Act’s support-or-advocacy clause. ....................................................27

           B.         The Court Should Grant Summary Judgment For Plaintiffs On
                      Defendants’ Affirmative Defense Under Virginia’s Immunity Provision. ............28

 CONCLUSION ..............................................................................................................................30



                                                                         i
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 3 of 37 PageID# 6181




                                               TABLE OF AUTHORITIES

 Cases                                                                                                                       Page(s)

 American Life League, Inc. v. Reno,
       47 F.3d 642 (4th Cir. 1995) .............................................................................................. 27

 Anderson v. Liberty Lobby, Inc.,
       477 U.S. 242 (1986) .......................................................................................................... 15

 Ashby v. Faison & Associates, Inc.,
        440 S.E.2d 603 (Va. 1994)................................................................................................ 30

 Askew v. Collins,
       722 S.E.2d 249 (Va. 2012)...........................................................................................19, 24

 Berner v. Mills,
        579 S.E.2d 159 (Va. 2003)................................................................................................ 30

 Brown v. Triton Security, Inc.,
       No. 1:04-CV-01544-JCC, 2005 WL 4663731 (E.D. Va. Mar. 23, 2005)......................... 16

 Burson v. Freeman,
       504 U.S. 191 (1992) .......................................................................................................... 28

 Food Lion, Inc. v. Melton,
       458 S.E.2d 580 (Va. 1995)................................................................................................ 19

 Gazette, Inc. v. Harris,
        325 S.E.2d 713 (Va. 1985).............................................................................. 16, 19, 20, 26

 Gertz v. Robert Welch, Inc.,
        418 U.S. 323 (1974) .................................................................................................... 25, 26

 Gilmore v. Jones,
       370 F. Supp. 3d 630 (W.D. Va. 2019) .............................................................................. 16

 Grim v. Rahe, Inc.,
        434 S.E.2d 888 (Va. 1993)................................................................................................ 30

 Hatfill v. New York Times Co.,
         532 F.3d 312 (4th Cir. 2008) ............................................................................................ 26

 Horne v. WTVR, LLC,
       No. 3:16-cv-0000092-JAG, 2017 WL 1330200 (E.D. Va. Apr. 6, 2017) ........................ 25




                                                                   ii
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 4 of 37 PageID# 6182




 John Doe No. 1 v. Reed,
       561 U.S. 186 (2010) .......................................................................................................... 28

 National Federation of the Blind v. FTC,
        420 F.3d 331 (4th Cir. 2005) ............................................................................................ 28

 New York Times Co. v. Sullivan,
       376 U.S. 254 (1964) .................................................................................................... 25, 26

 Smithfield Foods, Inc. v. United Food & Commercial Workers International Union,
        593 F. Supp. 2d 840 (E.D. Va. 2008) .......................................................................... 29-30

 Suntrust Mortgage, Inc. v. United Guaranty Residential Insurance Co. of North Carolina,
        508 F. App’x 243 (4th Cir. 2013) ..................................................................................... 27

 Taylor v. Commonwealth,
        604 S.E.2d 103 (Va. Ct. App. 2004) ................................................................................. 29

 Tolman v. Doe,
       988 F. Supp. 582 (E.D. Va. 1997) ............................................................................... 15-16

 United States v. O’Brien,
        391 U.S. 367 (1968) ..................................................................................................... 27-28

 United States v. Godley,
        136 F. Supp. 3d 724 (W.D.N.C. 2015) ............................................................................. 15

 Will Nesbitt Realty, LLC v. Jones,
        No. CL-2016-14232, 2018 WL 2035956 (Va. Cir. Ct. Apr. 30, 2018) ............................ 29

 Wisconsin v. Mitchell,
       508 U.S. 476 (1993) .......................................................................................................... 27




 Statutes, Rules and Other Authority

 Fed. R. Civ. P. 56(a) .............................................................................................................. 15, 18

 Va. Code Ann. § 8.01-223.2 ............................................................................................... 1, 28, 29

 Va. Code Ann. § 24.2-410.1 ........................................................................................................... 7

 Va. Code Ann. § 24.2-427 .............................................................................................................. 7




                                                                     iii
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 5 of 37 PageID# 6183




                                           INTRODUCTION

         The Court should grant summary judgment in part in favor of Plaintiffs on their

 defamation claim and against Defendants on their affirmative defenses under the First

 Amendment and Virginia’s Immunity Provision, Virginia Code Annotated Section 8.01-223.2.

         Plaintiffs are private citizens and a community organization who have brought suit to

 vindicate their rights under Virginia defamation law and federal voting rights laws against

 Defendants, the Public Interest Legal Foundation (“PILF”) and its President and General

 Counsel, J. Christian Adams. In 2016 and 2017, along with non-party co-conspirator Virginia

 Voters Alliance (“VVA”), Defendants published Alien Invasion in Virginia in two volumes

 (Alien Invasion I and II). These reports claim to have uncovered massive voting fraud in

 Virginia, attaching long lists of registrants and forms submitted by Virginia voters—including

 the individual Plaintiffs—that include their names and addresses (and in some cases emails and

 phone numbers), and accusing each person on those lists of committing “felonies” for registering

 to vote or voting.

         These claims were false. The undisputed and indisputable facts show that Plaintiffs (and

 many other individuals on those lists) are and were at all relevant times U.S. citizens who

 lawfully registered to vote and voted. Worse still, the evidence shows that Defendants were

 aware that the lists on which they were relying were not intended to serve as authoritative lists of

 non-citizens—that, in fact, Defendants were repeatedly warned by the very registrars from whom

 they had sought these lists in their effort to compile their reports. The undisputed evidence

 further demonstrates that Defendants plowed ahead anyway, seeking headlines at the Drudge

 Report and other media outlets in an attempt to advance their personal agendas, with callous

 disregard for the falsity of their assertions.
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 6 of 37 PageID# 6184




         On this record, Plaintiffs are entitled to summary judgment on their defamation claims

 and as to Defendants’ affirmative defenses under the First Amendment and Virginia’s Immunity

 Provision as a matter of law.

         First, Defendants have defamed the individual Plaintiffs as a matter of law. The

 publication of false statements is undisputed: the Alien Invasion reports were published and

 falsely accuse Plaintiffs of being felons—which is defamation per se. And the publication of

 these false statements was, at the very least, negligent—which is all that is required under

 Virginia law. The evidence shows that Defendants were repeatedly warned prior to publication

 that the lists on which they were relying were not conclusive records of citizenship status, yet

 Defendants took no steps to verify their assertions that everyone on them was a felon. To the

 contrary, they adopted an express policy of not contacting the individuals to make such inquiries.

 Even today—after Defendants have admitted that Plaintiffs have committed no crime—

 Defendants continue to maintain these defamatory publications as to two of the three individual

 Plaintiffs on their website and refer new viewers to them through press releases and other new

 publications of the same false statements.

         Second, Defendants’ affirmative defenses fail as a matter of law for many of the same

 reasons. False statements of fact have no constitutional value, and therefore all Plaintiffs have to

 do to defeat Defendants’ First Amendment defenses is establish that Defendants were negligent

 in publishing false statements about Plaintiffs. Defendants’ affirmative defense under Virginia’s

 Immunity Provision likewise fails because that provision does not retroactively apply to this

 case, and even if it did, it would not protect claims made with constructive knowledge of their

 falsity, as is the case here.

         For all these reasons, the Court should grant Plaintiffs partial summary judgment.




                                                  2
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 7 of 37 PageID# 6185




                           STATEMENT OF UNDISPUTED FACTS

         A.     The Individual Plaintiffs Are United States Citizens.

         1.     Plaintiff Eliud Bonilla is a current resident of Maryland who resided and voted in

 Herndon, Virginia from 2000 until 2013. Mr. Bonilla is a citizen born in Brooklyn, New York.

 (Parties’ Joint Written Stipulation of Undisputed Facts (“Stipulation of Undisputed Facts”) ¶ 2,

 May 17, 2019 (ECF No. 155) (attached as Ex. A to Decl. of Nicole Cleminshaw (“Cleminshaw

 Decl.”) filed concurrently herewith).)

         2.     Plaintiff Luciania Freeman is a resident of Woodbridge, Virginia and a registered

 voter of Prince William County, Virginia. Ms. Freeman is a citizen born in Fayetteville, North

 Carolina. (Id. ¶ 3.)

         3.     Plaintiff Abby Jo Gearhart is a resident of Barhamsville, Virginia and a registered

 voter of New Kent County, Virginia. Ms. Gearhart is a citizen born in Newport News, Virginia.

 (Id. ¶ 4.)

         4.     Defendant PILF is a 501(c)(3) organization incorporated in the State of Indiana

 (id. ¶ 5), of which Defendant J. Christian Adams is President and General Counsel (id. ¶ 6).

         B.     Defendants Published Actionable Statements Regarding Individual
                Plaintiffs.

         5.     On September 30, 2016, Defendants and VVA jointly published Alien Invasion in

 Virginia: The Discovery and Coverup of Noncitizen Registration and Voting (“Alien Invasion

 I”). (Id. ¶ 7; see also Alien Invasion I (attached as Ex. B to Cleminshaw Decl.).)

         6.     Alien Invasion I states: “The United States Attorney in Virginia has done

 nothing about the felonies committed by 433 aliens registering in Prince William County

 alone.” (Alien Invasion I at 8 (emphasis in original).)




                                                  3
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 8 of 37 PageID# 6186




        7.      The “433 aliens” in Prince William County refers to the individuals listed in

 Exhibit 1 to Alien Invasion I and includes Ms. Freeman. (Dep. of Noel Johnson (“Johnson Dep.”)

 78:13-80:25, April 12, 2019 (attached as Ex. C to Cleminshaw Decl.); Dep. of PILF 30(b)(6)

 Designee J. Christian Adams (“PILF 30(b)(6) Dep.”) 122:12-125:6, Apr. 18, 2019 (attached as

 Ex. D to Cleminshaw Decl.).)

        8.      Ms. Freeman’s name, along with an address, appears in Exhibit 1 to Alien

 Invasion I. (Alien Invasion I, Ex. 1 at 26; see also PILF 30(b)(6) Dep. 125:7-17) Ms. Freeman’s

 name, address, email address, and telephone number appear in Exhibit 7 to Alien Invasion I.

 (Alien Invasion I, Ex. 7 at 48; see also Johnson Dep. 82:2-23.)

        9.      Alien Invasion I states “we found 1046 aliens who registered to vote illegally.”

 (Alien Invasion I at 2 (emphasis in original).) The “1046 aliens” refers to individuals that

 include Ms. Freeman. (Johnson Dep. 80:23-81:4; PILF 30(b)(6) Dep. 126:13-127:5.)

        10.     In May 2017, Defendants and VVA jointly published Alien Invasion II: The

 Sequel to the Discovery and Cover-up of Noncitizen Registration and Voting in Virginia (“Alien

 Invasion II”). (Stipulation of Undisputed Facts ¶ 10; see also Alien Invasion II (attached as Ex.

 E to Cleminshaw Decl.).)

        11.     Alien Invasion II reports finding “5,556 non-citizens” removed from voter rolls

 and states that “of these illegal registrants, 1,852 cast nearly 7,500 ballots in elections dating

 back to 1988.” (Alien Invasion II at 1, 2 (emphases in original).)

        12.     Alien Invasion II was intended to be a “sequel” to Alien Invasion I. (Alien

 Invasion II; Defs.’ Answer, Affirmative Defenses, & Third-Party Compl. (“Defs.’ Answer”) at

 25, Aug. 27, 2018 (ECF No. 66).) Alien Invasion II makes extensive reference to Alien Invasion

 I and includes a link to Alien Invasion I in its endnotes. (See Alien Invasion II.)




                                                   4
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 9 of 37 PageID# 6187




        13.     “5,556 non-citizens” and “illegal registrants” refers to the individuals listed in

 Exhibit 1 to Alien Invasion II, which includes Ms. Freeman and Mr. Bonilla. (Id. at 2 & n.5;

 Johnson Dep. 91:12-24; 93:22-94:20; PILF 30(b)(6) Dep. 170:23-172:16.)

        14.     Ms. Freeman and Mr. Bonilla’s names and addresses appear in Exhibit 1 to Alien

 Invasion II. (Alien Invasion II, Ex. 1 at 258, 100 (naming Ms. Freeman and Mr. Bonilla,

 respectively).) Ms. Freeman’s name, address, email address, and telephone number appear in

 Exhibit 12 to Alien Invasion II. (Alien Invasion II, Ex. 12.) Mr. Bonilla’s name, address, and

 telephone number also appear in Exhibit 12. (Id.; see also PILF 30(b)(6) Dep. 181:23-182:18.)

        15.     Alien Invasion II tracks Alien Invasion I by repeating that the “Department of

 Justice so far has done nothing about the felonies committed by 433 suspected aliens

 registered in Prince William County alone.” (Alien Invasion II at 6 (emphasis in original).)

 Ms. Freeman is still listed as one of the “433” who committed “felonies.”

        16.     Between approximately May 30, 2017 and November 3, 2017, Exhibit 12 to Alien

 Invasion II also included Plaintiff Gearhart, then known as Abby Jo Focht, as well as her address

 and phone number. (Stipulation of Undisputed Facts ¶ 13; see also Johnson Dep. 121:23-122:9,

 125:17-24, 204:22-206:1; Johnson Dep. Ex. 29 (attached as Ex. F to Cleminshaw Decl.).)

        17.     Both Alien Invasion I and Alien Invasion II, along with their exhibits, were posted

 and made available on PILF’s website, www.publicinterestlegal.org. (Stipulation of Undisputed

 Facts ¶¶ 7, 10; Defs.’ Answer at 19.) They remain available on the website.1 According to a


 1
         For Alien Invasion I, see https://publicinterestlegal.org/blog/report-ineligible-aliens-
 registering-vote-casting-ballots/ and https://publicinterestlegal.org/files/Report_Alien-Invasion-
 in-Virginia.pdf; for Alien Invasion II, see https://publicinterestlegal.org/blog/alien-invasion-ii-
 sequel-discovery-cover-non-citizen-registration-voting-virginia/,
 https://publicinterestlegal.org/files/Alien-Invasion-II-FINAL.pdf and
 https://publicinterestlegal.org/alien-invasion-virginia/.



                                                  5
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 10 of 37 PageID# 6188




 PILF email, more than 70,000 individuals viewed the Defendants’ defamatory Alien Invasion II

 report in the course of just one 24-hour period following a television appearance by Defendant

 Adams. (See Email from Public Interest Legal Newsletter to Kaylan Phillips, PILF (May 31,

 2017 4:00 PM) (marked as PILF-ADAMS-0037281) (attached as Ex. G to Cleminshaw Decl.).)

        18.     Defendants publicized the Alien Invasion Reports through, among other avenues,

 press releases, Twitter, Facebook, TV interviews, radio interviews, and online media outlets like

 Breitbart.com. (Defs.’ Answer at 8, 19; PILF 30(b)(6) Dep. Ex. 5 (attached as Ex. H to

 Cleminshaw Decl.); Dep. of J. Christian Adams (“Adams Dep.”) 22:15-21, 23:21-24, 26:9-18,

 26:4-17, 26:22-27:6, 33:20-36:11, Apr. 22, 2019 (attached as Ex. I to Cleminshaw Decl.).) For

 example, Defendants issued a press-release associated with Alien Invasion II trumpeting the

 removal of 5,556 non-citizens of whom supposedly “[o]ne [t]hird . . . voted illegally” and who,

 together supposedly cast “7,474 illegal ballots.” (Dep. of Steven Albertson (“Albertson Dep.”)

 Ex. 47, May 14, 2019 (attached as Ex. J to Cleminshaw Decl.).)

        19.     Defendants continue to publicize the reports. On May 1, 2019, PILF published a

 post on its website entitled PILF to Congress: U.S. Lacks Safeguards from Noncitizen Voter

 Registration, which asserts that PILF has issued reports that have identified “ineligible

 noncitizens” who have registered to vote in various states, including Virginia, with a link to

 PILF’s Alien Invasion page. Public Interest Legal Foundation, PILF to Congress: U.S. Lacks

 Safeguards from Noncitizen Voter Registration (May 1, 2019) (attached as Ex. K to Cleminshaw

 Decl.), https://publicinterestlegal.org/blog/pilf-to-congress-u-s-lacks-safeguards-from-

 noncitizen-voter-registration/.




                                                  6
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 11 of 37 PageID# 6189




        20.     For each Plaintiff, Defendants possessed copies of their voter registration

 applications showing that each Plaintiff had affirmed that they were U.S. citizens. (PILF

 30(b)(6) Dep. 136:22-138:21, 181:17-183:6; Johnson Dep. 116:20-24, 118:5-8.)

        21.     Despite having Plaintiffs’ contact information, Defendants did not attempt to

 contact Plaintiffs to confirm their citizenship status prior to publishing the Reports. (Dep. of

 Eliud Bonilla 164:15-25, Mar. 8, 2019 (attached as Ex. L to Cleminshaw Decl.); Dep. of Abby Jo

 Gearhart 95:22-96:9, Mar. 15, 2019 (attached as Ex. M to Cleminshaw Decl.); Dep. of Luciania

 Freeman 159:1-160:17, Mar. 13, 2019 (attached as Ex. N to Cleminshaw Decl.); Johnson Dep.

 83:11-19, 96:8-14-99:2.) In fact, Adams instituted a “corporate policy” under which PILF

 “would not” reach out to any of the individuals listed in the Alien Invasion reports. (PILF

 30(b)(6) Dep. 184:7-185:16.)

        C.      Defendants Knew That They Had No Basis For Their Accusations.

        22.     The Alien Invasion reports rely on a specific type of voter registration cancellation

 list, titled “Cancellation - Declared Non-Citizen,” that is generated from the Virginia Election &

 Registration Information System (“VERIS”) [hereinafter the “VERIS Report”]. (Johnson Dep.

 79:5-21; 91:12-92:24.)

        23.     A VERIS Report lists individuals whose voter registrations were cancelled

 because they purportedly indicated non-citizenship on a Department of Motor Vehicles form,

 were mailed a Notice of Intent to Cancel indicating that their voting registration would be

 cancelled unless they affirmed their citizenship, and failed to return a completed Affirmation of

 Citizenship within a 14-day timeframe. See Va. Code Ann. §§ 24.2-410.1, 24.2-427.

 Defendants were aware of the general outline of this process. (See, e.g., Johnson Dep. Ex. 4

 (attached as Ex. O to Cleminshaw Decl.).) The Notice of Intent to Cancel allows for the

 possibility that information provided by the DMV is wrong: “If the information is incorrect and


                                                  7
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 12 of 37 PageID# 6190




 you are a citizen of the United States, please complete the Affirmation of Citizenship form and

 return it using the enclosed envelope.” (See, e.g., id. at 4-299 (containing examples of notices).)

        24.     Defendants saw a copy of the VERIS Report when they went to inspect voter

 registration records of the City of Alexandria Registrar on July 25, 2016. (PILF 30(b)(6) Dep.

 44:4-15; 49:5-17; Dep. of VVA 30(b)(6) Designee Reagan George (“VVA 30(b)(6) Dep.”)

 51:25-52:9, 54:22-55:16, Mar. 15, 2019 (attached as Ex. P to Cleminshaw Decl.).) Counsel for

 Alexandria City Registrar Anna Leider provided the same list to Mr. Johnson, who forwarded it

 to Mr. Adams, via email in September. (PILF 30(b)(6) Dep. Ex. 6 (attached as Ex. Q to

 Cleminshaw Decl.); PILF 30(b)(6) Dep. 54:1-55:2; VVA (30)(b)(6) Dep. 70:1-10.)

        25.     In August 2016, after seeing the list generated by the VERIS system and prior to

 Alien Invasion I, PILF sent letters to 19 Virginia elections registrars asking for “[d]ocuments

 regarding all registrants who were identified as potentially not satisfying the citizenship

 requirements for registration.” (PILF 30(b)(6) Dep. Ex. 7 (emphasis added) (attached as Ex. R to

 Cleminshaw Decl.); PILF 30(b)(6) Dep. 58:8-20, 59:16-60:25, 67:25-68:5; see also, e.g.,

 Johnson Dep. Ex. 2, at 4 (letter to Prince William County) (attached as Ex. S to Cleminshaw

 Decl.); PILF 30(b)(6) Dep. Ex. 8, at 3-48 (similar letters to other counties) (attached as Ex. T to

 Cleminshaw Decl.).)

        26.     Defendant Adams edited this letter to registrars by deleting draft language seeking

 records of “individuals who ha[d] been purged . . . because the individual was not a citizen of the

 United States” and replacing it with the “potentially not satisfying” language. (PILF 30(b)(6)

 Dep. 59:16-60:25 (emphasis added); PILF 30(b)(6) Dep. Ex. 7 (emphasis added).)

        27.     Defendant Adams testified that he was “aware of the general nature of false-

 positives” in voter registration cancellation records. (PILF 30(b)(6) Dep. 283:24-284:14.)




                                                  8
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 13 of 37 PageID# 6191




        28.     Prior to the publication of Alien Invasion I, and in response to the August letter

 requesting individuals identified as “potentially not satisfying” citizenship requirements, the

 Bedford County Registrar provided Defendants, among other records, with a VERIS Report for

 Bedford County containing the names of 35 individuals whose registrations were cancelled under

 the “declared non-citizen” cancel type. (Johnson Dep. 56:23-57:8; Johnson Dep. Ex. 4.)

        29.     Alien Invasion I states that Bedford County “provided a list of 35 non-citizens.”

 (Alien Invasion I at 8; Johnson Dep. 57:9-15.) Alien Invasion I does not mention that the

 Bedford County Registrar also informed Defendants, before Alien Invasion I was published, that

 18 of those 35 individuals had re-registered. (Johnson Dep. 66:2-8, 66:14-67:2).

        30.     Prior to Alien Invasion I, Defendants were aware that the VERIS Report “contains

 only individuals identified by DMV as being potentially non-citizen and cancelled as a result.”

 (Dep. of Clarabelle Wheeler Ex. 8, Apr. 8, 2019 (attached as Ex. U to Cleminshaw Decl.).)

        31.     The Virginia Department of Elections (“VDOE”) does not conduct an

 investigation to confirm the citizenship of canceled registrants and the VDOE does not

 adjudicate, one way or another, any cancelled registrant’s citizenship status. (Dep. of Edgardo

 Cortes (“Cortes Dep.”) 246:20-247:12, Apr. 10, 2019 (attached as Ex. V to Cleminshaw Decl.).)

        32.     Mr. Cortes, the Commissioner of VDOE when the Alien Invasion Reports were

 published, explained that he would never represent that an individual who was included on the

 VERIS report was, in fact, a non-citizen because the VERIS report “is not indicative of the fact

 that those individuals are non-citizens. It’s indicative of the fact that they were removed for

 failure to respond to the [Registrar’s cancellation letter].” (Id. 249:8-250:4.) Mr. Cortes testified

 that the VERIS report “should not be used to make a blanket statement that an individual is not a

 [U.S.] citizen.” (Id. 251:2-4.)




                                                   9
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 14 of 37 PageID# 6192




        33.     It is not uncommon that “an individual would . . . be cancelled, register at a later

 date, and then a new record would be created. So, therefore, they would still appear on [the

 VERIS report of voters cancelled for declared non-citizen status] . . . but a new voter registration

 would be created for that individual.” (Deposition of VDOE 30(b)(6) Designee Christopher

 Piper (“VDOE 30(b)(6) Piper Dep.”) 188:22-189:5, Apr. 19, 2019 (attached as Ex. W to

 Cleminshaw Decl.).)

        34.     On October 4, 2016, Steven Albertson, a PILF volunteer, wrote an email stating

 that some number of people listed in Alien Invasion I were “accidentals (i.e. those who are

 citizens but had trouble with the forms)[.] It’s looking like that’s 10-15% of what we have, and

 many of those have been reinstated.” (Albertson Dep. Ex. 42 (attached as Ex. X to Cleminshaw

 Decl.); Albertson Dep. 18:17-25, 124:18-126:4 (attached as Ex. Y to Cleminshaw Decl.).)

        35.     On August 18, 2016, Barbara Gunter, the Bedford County Registrar, provided

 Defendants with a VERIS report of individuals canceled for suspected citizenship defects. The

 email also included the registrar’s correspondence with suspected non-citizens. In cases where

 the canceled voter subsequently re-registered, that fact was noted by hand on the

 correspondence. (See Johnson Dep. Ex. 4.) While Exhibit 1 of Alien Invasion II includes those

 individuals indicated to have re-registered, neither Exhibit 1 nor the body of the report indicates

 that those individuals had re-registered.

        36.     On November 22, 2016, York County Registrar Walt Latham provided

 Defendants with correspondence with registrants suspected of not meeting the citizenship

 requirements. Included in this correspondence was the affirmation of citizenship executed by

 plaintiff Abby Jo Gearhart (then known as Abby Jo Focht) in response to York County’s notice




                                                  10
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 15 of 37 PageID# 6193




 of intent to cancel her registration. (Johnson Dep. Ex. 15 (attached as Ex. Z to Cleminshaw

 Decl.); Johnson Dep. 122:13-124:13.)

        37.     On February 1, 2017, Mr. Latham provided Defendants with the requested VERIS

 report for York County, containing the names of 26 individuals. (PILF 30(b)(6) Dep. Ex. 17

 (attached as Ex. AA to Cleminshaw Decl.); PILF 30(b)(6) Dep. 230:20- 231:20.) The following

 day, the York County Registrar informed Defendants that 12 of those 26 individuals had re-

 registered and provided the subsequent applications of those 12 people. (PILF 30(b)(6) Dep.

 233:5-8; PILF 30(b)(6) Dep. Ex. 17.) While Exhibit 1 to Alien Invasion II includes each of the

 12 people that were identified as re-registered, neither Exhibit 1 nor the body of Alien Invasion II

 mentions that the York County Registrar informed Defendants that 12 of 26 individuals had re-

 registered. (Alien Invasion II, Ex. 1 at 309-12; PILF 30(b)(6) Dep. 235:8-18.)

        38.     On February 7, 2017, Alex Ables, the Fauquier County Registrar, provided

 Defendants with a list of fifteen “voters appearing on the [VERIS] report [who] have submitted a

 new voter registration application subsequent to their record being flagged as a potential non-

 citizen.” (PILF 30(b)(6) Dep. Ex. 19 (attached as Ex. BB to Cleminshaw Decl.).) Many of the

 individuals that Mr. Ables identified as having re-registered nevertheless appeared in Exhibit 1.

 (Alien Invasion II, Ex. 1 at 139-42.)

        39.     On February 15, 2017, Dianna Moorman, the James City County Registrar,

 produced the VERIS report for James City County requested by PILF, but explained that “many

 of these simply were because they failed to check the ‘Are you a US citizen’ box on the voter

 registration application, not because they were actually a non-citizen, and have since reregistered

 with an acceptable completed application.” (PILF 30(b)(6) Dep. Ex. 15 (attached as Ex. CC to

 Cleminshaw Decl.); PILF 30(b)(6) Dep. 213:15-214:11.)




                                                 11
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 16 of 37 PageID# 6194




        40.       The following day, February 16, Ms. Moorman provided Defendants with a

 spreadsheet indicating that 30 of the 51 individuals listed in the VERIS report had affirmed their

 citizenship and re-registered. (PILF 30(b)(6) Dep. Ex. 16 (attached as Ex. DD to Cleminshaw

 Decl.); PILF 30(b)(6) Dep. 216:15-219:8.) Nevertheless, Exhibit 1 to Alien Invasion II included

 the names of the individuals who had re-registered. (Alien Invasion II, Ex. 1 at 180-85.) PILF

 did not publish the spreadsheet from Ms. Moorman with Alien Invasion II. (PILF 30(b)(6) Dep.

 224:22-225:1.)

        41.       In a letter dated February 9, 2017, Defendants were informed by Rappahannock

 County Registrar Kim McKiernan that the VERIS report Defendants had requested “[contains]

 false positives.” (PILF 30(b)(6) Dep. Ex. 20 (attached as Ex. EE to Cleminshaw Decl.).) She

 explained that in many cases, “voters miss checking the tiny box indicating they are citizens.”

 (Id.) Ms. McKiernan also wrote: “I remain concerned about your potential misinterpretation of

 the reports and your propensity to misrepresent those results to our voters.” (Id.)

        42.       Defendants were aware as of February 1, 2017, of an email by Linda Lindberg,

 Arlington County Registrar, in which she wrote that the “data on this [PILF-requested VERIS]

 report is NOT accurate and will be misinterpreted and misrepresented by this organization, as

 they have done with the data previously received.” (PILF 30(b)(6) Dep. Ex. 21 (attached as Ex.

 FF to Cleminshaw Decl.); see also PILF 30(b)(6) Dep. 257:22-258:6.) Ms. Lindberg also

 explained in this email that the VERIS report would list a voter as cancelled “despite the voter

 having subsequently affirmed his citizenship.” (PILF 30(b)(6) Dep. Ex. 21.) Adams

 acknowledged that he received this information. (See PILF 30(b)(6) Dep. 246:6-247:1.)

        43.       Defendants were aware on February 1, 2017, of an email by Larry Haake,

 Chesterfield County Registrar, stating: “Ms. Lindberg is correct that they are consciously




                                                  12
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 17 of 37 PageID# 6195




 misrepresenting the data they received from us.” (PILF 30(b)(6) Dep. Ex. 22 (attached as Ex. GG

 to Cleminshaw Decl.); see also PILF Dep. 263:2-8; 266:14-16.) Mr. Haake also wrote in this

 email that PILF is “fully aware the particular report they want is misrepresentative of the truth

 but the truth is clearly not what they want.” (PILF 30(b)(6) Dep. Ex. 22.)

        44.     In an email dated March 30, 2017 from Stephen Hunt, Chairman of the Fairfax

 County Electoral Board, to Mr. George and PILF Board of Directors member Hans von

 Spakovsky, Mr. Hunt stated that something “in the DMV system is causing misidentification of

 US citizens as non-citizens.” (Dep. of Hans von Spakovsky Ex. 13, May 9, 2019 (attached as

 Ex. HH to Cleminshaw Decl.).) Mr. Hunt explained that “[m]any of the people who were

 identified as a non-citizen have verified their citizenship” and warned that he “would be a little

 cautious in using the [DMV] numbers as the number of non-citizens who have voted.” (Id.)

        45.     Defendants were aware of the potential for “false positives” in the VERIS

 report—meaning people who were actually U.S. citizens despite appearing in the report. Upon

 review of the VDOE-supplied VERIS report, Noel Johnson identified a “George Washington Jr.”

 in the report and Mr. Adams responded: “If false positive they will use this one against us.”

 (Johnson Dep. Ex. 27 (attached as Ex. II to Cleminshaw Decl.); Johnson Dep. 190:18-191:15;

 PILF 30(b)(6) Dep. 284:4-5.)

        46.     Defendants were aware that on May 25, 2017, PILF volunteer Keith Damon,

 referring to the VDOE-supplied VERIS Report, shared his “concern[] that just accepting all of

 the people on the list as actual non-citizens might not be correct.” (PILF 30(b)(6) Dep. Ex. 24, at

 5 (attached as Ex. JJ to Cleminshaw Decl.).) Mr. Damon explained how he investigated some of

 the “non-hispanic” names listed on the VERIS report, including a Carol Dodson and a Bryan

 Bennett, and “wonder[ed] if this is really a list of actual non-citizens.” (Id.) Mr. Damon also




                                                  13
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 18 of 37 PageID# 6196




 wrote that the VERIS report potentially includes citizens whose registrations were cancelled or

 “dropped before [they] realize[] that [they were] incorrectly dropped” and who subsequently re-

 register. (Id. at 1.)

         47.     On August 15, 2018, Mr. Adams circulated his edits to a report called Safe

 Spaces: How Sanctuary Cities Are Giving Cover to Noncitizens on the Voting Rolls. (Johnson

 Dep. Ex. 36 (attached as Ex. KK to Cleminshaw Decl.).) In the report’s section regarding

 Virginia, Mr. Adams made an edit where he struck “noncitizens previously registered and voting

 therein” and replaced it with “registrants cancelled for citizenship reasons.” (Id.; see also Adams

 Dep. 261:6-262:9.) In a comment to this edit, Mr. Adams wrote: “How is it after we are

 involved in litigation that we are still referring to these Virginia cases as, quote, noncitizens? It

 defies explanation. On numerous occasions in numerous places I have explicitly said their

 registration is removed for citizen defects or registrants canceled for reasons of noncitizenship.

 We have to use the actual terms and not make assumptions they are necessarily aliens. The

 continuing improper terminology contribute[d] to us losing the motion to dismiss because the

 court ruled that these subsequent statements were republications within the statute of

 limitations.” (Id. 262:10-263:7 (quoting Johnson Dep. Ex. 36) (referring to instant lawsuit).)

 Indeed, even before publishing the Alien Invasion reports, Mr. Adams discussed the need to

 “present[] . . . as mere facts that these people registered . . . and that alien registration is a crime”

 without express accusations of a crime “as that could be libelous.” (Email from J. Christian

 Adams, PILF, to Reagan George, VVA, & Noel Johnson, PILF (Sept. 24, 2016 9:02 AM)

 (marked as PILF-ADAMS-0014090) (attached as Ex. LL to Cleminshaw Decl.).)




                                                    14
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 19 of 37 PageID# 6197




                                              ARGUMENT

         All of the individual Plaintiffs are entitled to summary judgment as to their claim for

 defamation and all Plaintiffs are entitled to summary judgment on Defendants’ affirmative

 defenses under the First Amendment and Virginia’s Immunity Provision.

         Summary judgment should be granted when “there is no genuine dispute of material fact

 and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The movant

 bears the “initial responsibility of informing the district court of the basis for its motion . . . .”

 United States v. Godley, 136 F. Supp. 3d 724, 731 (W.D.N.C. 2015) (citation omitted).

         Once it has done so, the burden shifts to the nonmoving part to “set forth specific facts

 showing that there is a genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

 250 (1986) (citation omitted). It may not rest “upon mere allegation[s] or denials” in its

 pleadings or by offering a mere “scintilla” of evidence. Id. at 252, 256. Rather, the relevant

 question is whether the evidence is sufficiently conflicting “such that a reasonable jury could

 return a verdict for the non-moving party.” Id. at 248 (emphasis added).

         Here, specific record evidence proves each element of Plaintiffs’ claim for defamation,

 and rebuts any potentially applicable affirmative defenses under the First Amendment or

 Virginia’s Immunity Provision. Accordingly, the Court should grant summary judgment.

 I.      PLAINTIFFS ARE ENTITLED TO SUMMARY JUDGMENT ON THEIR
         DEFAMATION CLAIM BECAUSE THEY HAVE ESTABLISHED ALL OF THE
         ELEMENTS OF THAT CLAIM.

         To prevail on a claim for defamation, Plaintiffs must demonstrate “ (1) publication of (2)

 an actionable statement [and] (3)” that the Defendants acted with the requisite intent, i.e., that

 they were at least negligent as to the truth of their statements. (Mem. Op. & Order (“MTD

 Order”) at 11, Aug. 13, 2018 (ECF No. 63) (quoting Chapin v. Knight-Ridder, Inc., 993 F.2d

 1087 (4th Cir. 1993) (interpreting Virginia law)).) A defamation plaintiff that can put forth facts


                                                    15
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 20 of 37 PageID# 6198




 showing that there is no genuine dispute of material fact is entitled to summary judgment, just

 like any other litigant. See, e.g., Tolman v. Doe, 988 F. Supp. 582, 587 (E.D. Va. 1997)

 (granting summary judgment to defamation plaintiff because defendant offered nothing more

 than “speculative inferences” and “unsupported conclusions”). Here, incontrovertible evidence

 proves each of the elements, entitling the individual Plaintiffs to summary judgment.

        A.      The Defendants Published The Statements At Issue.

        Defendants concede that the Alien Invasion Reports and their appendices were published

 within the meaning of the definition of defamation. (See, e.g., Defs.’ Answer at 19 (Defendants

 admitting they published Alien Invasion I to national media via press releases and postings on

 Facebook and Twitter); id. at 20 (admitting that Alien Invasion I was “published”); id. at 25

 (“[d]efendants admit that they published the [s]econd [Alien Invasion] [r]eport”); Stipulation of

 Undisputed Facts ¶ 10.)

        This is no surprise. Publication, for purposes of common-law defamation, requires

 nothing more than dissemination to a single person in a non-privileged setting. See, e.g., Brown

 v. Triton Sec., Inc., No. 1:04-CV-01544-JCC, 2005 WL 4663731, at *2 (E.D. Va. Mar. 23,

 2005). Public posting of an offending statement meets this standard. See, e.g., Gazette, Inc. v.

 Harris, 325 S.E.2d 713, 743 (Va. 1985) (affirming defamation verdict based on advertisement in

 student newspaper). Thus, it is beyond dispute that the publication requirement is met for any

 statement that is “published online for third parties to view and digest.” Gilmore v. Jones, 370 F.

 Supp. 3d 630, 666 (W.D. Va. 2019).

        Defendants “published” the Alien Invasion reports, appendices—including the

 appendices that identified the individual Plaintiffs by name and address—and press releases

 widely and repeatedly, and indeed continue to do so. The reports, appendices, and press releases

 were, and still are, available at the PILF website, and according to a PILF email, have been


                                                 16
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 21 of 37 PageID# 6199




 viewed extensively following television promotion of the reports. (See supra ¶ 17.) Thus, as a

 matter of law, the defamatory statements were—and as to Plaintiffs Bonilla and Freeman

 continue to be—published.

        B.      Defendants’ Statements Were Defamatory Per Se Because They Were
                False And Because They Accused Plaintiffs Of Multiple Felonies.

        Defendants’ statements in the Alien Invasion reports and their appendices, which accuse

 all of the individual Plaintiffs of being “illegal registrants” and having committed “felonies”

 were both false and defamatory per se.

        “A written statement is per se defamatory when it alleges that an individual has

 committed a felony which he or she did not commit.” (MTD Order at 11.) Defendants’

 accusations did precisely that. Both Alien Invasion reports make the accusations of felonious

 conduct explicit. Alien Invasion II explains that “it is a felony for a non-citizen to register.”

 (Alien Invasion II at 2.) Then, in a section entitled “felonies upon felonies,” it accuses each of

 the supposed non-citizen registrants PILF had identified, including Mr. Bonilla, Ms. Freeman,

 and Ms. Gearhart, of “violat[ing] state and federal law” and demands a “swift, sure, and

 unwavering” response from law enforcement and prosecutors. (See Alien Invasion II at 3 (citing

 18 U.S.C. §§ 611, 911, 1015, 52 U.S.C. § 20511, Va. Code § 24.2-1004); see also, e.g., id. at 4

 (referencing “felonies committed by 433 suspected aliens in Prince William County,” including

 Ms. Freeman).) Alien Invasion I also provides a list of the individuals that, in its words, “likely

 committed a felony”— a list that includes Ms. Freeman. (See Alien Invasion I, Ex. 1; see also

 PILF 30(b)(6) Dep. 125:18-126:7 (Adams agreeing that “Ms. Freeman is one of what PILF calls,

 quote, 1,046 aliens who registered to vote illegally” (emphasis added)).) The press releases

 associated with the Alien Invasion reports were, if anything, even more explicit. The press




                                                   17
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 22 of 37 PageID# 6200




 release announcing the publication of Alien Invasion II for example, refers over and over to

 “illegal ballots” cast without appropriate “legal consequences.” (Albertson Dep. Ex. 47.)

          It is undisputed that these allegations were false as to the individual Plaintiffs. Mr.

 Bonilla, Ms. Freeman, and Ms. Gearhart are all United States citizens by birth and were, at the

 time they were accused, all eligible to vote in the Commonwealth of Virginia. Defendants agree

 and have stipulated as much. (See Stipulated Statement of Undisputed Materials Facts at 2, 3, 4.)

          To the extent that Defendants argue that they leveled no direct accusations against

 Plaintiffs because they are mentioned by name only in the appendices to the reports, rather than

 the text of the reports themselves, the Court has already rejected this argument at the motion-to-

 dismiss stage. (See MTD Order at 12 (finding that plaintiffs had stated a claim by alleging that

 “Defendants had imputed felonious conduct to these individuals by inference” (emphasis

 added)).

          In short, “there is no genuine dispute” that Defendants’ statements about the individual

 Plaintiffs were both false and defamatory per se under Virginia law; upon demonstration of a

 culpable mental state, Plaintiffs are entitled to “judgment as a matter of law.” Fed. R. Civ. P.

 56(a).

          C.     Undisputed Facts Demonstrate That Defendants Were At Least
                 Negligent In Publishing The False Statements.

          Plaintiffs need only prove negligence to be entitled to summary judgment. And no

 reasonable jury could conclude that Defendants were not negligent. Indeed, the undisputed

 evidence shows that Defendants were repeatedly made aware that there was a significant risk that

 they would falsely accuse citizens of being non-citizens who had committed felonies—and

 willfully ignored that risk and declared that everyone listed was an “illegal registrant” (Alien




                                                   18
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 23 of 37 PageID# 6201




 Invasion II at 2), many of whom who cast “illegal ballots” (see Albertson Dep. Ex. 47). This

 reckless and malicious conduct far exceeds the requirements of Virginia defamation law.

        First, the requisite showing is negligence. The Court has already held as much and

 Defendants have never contended otherwise. See MTD Order at 12 (“Regarding the requisite

 intent requirement, both parties agree that the proper standard here is negligence . . . .”).

 Because the individual Plaintiffs are all private individuals, Defendants are liable for negligent

 publications so long as “substantial danger to [plaintiffs’] reputation [was] apparent” to a

 reasonable publisher. Gazette, 325 S.E.2d at 725.2 Here, such danger was plainly apparent.

 Defendants’ defamatory Alien Invasion reports accused each of the individual Plaintiffs of

 committing felony voter fraud. (Alien Invasion I at 1; Alien Invasion II at 2.) The danger such

 statements pose to the reputations of the individuals accused of being felons would be apparent

 to a reasonable publisher for essentially the same reasons that they are defamatory per se. See

 Food Lion, Inc. v. Melton, 468 S.E.2d 580, 584 (Va. 1995) (“[A]n allegedly defamatory

 statement that imputes commission of a crime . . . makes substantial danger to reputation

 apparent, [and] a negligence standard applies.”).

        Second, the record shows that the negligence standard is met as a matter of law because

 undisputed facts demonstrate that Defendants possessed sufficient information that, at the very

 minimum gave them reason to doubt that the plaintiffs were actually ineligible to vote. As the

 Court explained in ruling on the motion to dismiss, the negligence standard is met whenever the

 defendants “‘either knew the published statement to be false or . . . lacked reasonable grounds’”

 to believe it was true, “‘or acted negligently in failing to ascertain the facts on which the


 2
        The question whether a substantial danger to reputation is apparent is a question for the
 Court to resolve, not for the jury. Gazette, 325 S.E.2d at 729.



                                                   19
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 24 of 37 PageID# 6202




 publication was based.’” (MTD Order at 12 (quoting Dragulescu v. Virginia Union Univ., 223

 F. Supp. 3d 499 (E.D. Va. 2016)).) See also, e.g., Gazette, 325 S.E. 2d at 725; Askew v. Collins,

 722 S.E.2d 249, 251 (Va. 2012) (verdict rendered for plaintiff based on “evidence that . . . at a

 minimum . . . [defendant] lacked reasonable grounds for [her statement] or otherwise negligently

 failed to ascertain facts in support of” it).

         As this standard and the cases applying it make clear, actual knowledge of falsity is not

 required; it suffices that a defendant fails to undertake a sufficiently diligent investigation prior

 to publishing the actionably false claim. In Gazette, for example, the court affirmed a series of

 jury verdicts in favor of defamation plaintiffs. In one of the consolidated cases, the defendant

 newspaper published a “Public Record” section, which summarized local public records

 including cases heard in the local criminal court. Gazette, 325 S.E.2d at 729. The reporter

 compiled the article by reviewing docket sheets, but could not understand many of the

 abbreviations used on the docket. See id. at 729-30. Neither the reporter nor his editor took

 steps to verify the report. See id. at 730 This, the court held, was enough to sustain a finding of

 negligence. Moreover, the defendants’ negligence was not “excused merely because the court

 record was copied almost verbatim, and the format of the publication did not deviate

 substantially from the form of the docket page.” Id.

         Here the evidence of the Defendants’ actual or constructive knowledge that their

 statements were false is far stronger than that in Gazette. The evidence establishes not just lack

 of adequate investigation, but actual knowledge that the claims Defendants published were false.

 Defendants’ conduct reveals that at the outset of their investigation they were aware that the

 VERIS reports they were seeking (and that would ultimately form the basis for the Alien

 Invasion reports) were not proof of lack of citizenship. Defendants acknowledged as much in the




                                                   20
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 25 of 37 PageID# 6203




 form letters that they sent out, which asked not for lists of confirmed non-citizens but registrants

 “who were identified as potentially not satisfying the citizenship requirements for registration.”

 (See supra ¶ 25.) That Defendants later claimed in published reports that the same lists were

 definitive evidence of non-citizen voting alone shows of negligence at the very least, and suffices

 to entitle the Plaintiffs to summary judgment on their defamation claim.

        Moreover, several government officials from different jurisdictions repeatedly warned

 Defendants that the lists they received contained eligible voters who had simply made an error

 on a government form. Several registrars explained that many of the people listed on the VERIS

 reports were U.S. citizens, several of whom had subsequently reaffirmed their citizenship and

 had re-registered to vote. (See supra ¶¶ 35-41.) Many of the registrars, including Walt Latham,

 Alex Ables, and Barbara Gunter, even identified for PILF which specific voters had re-affirmed

 their citizenship. (See supra ¶¶ 35-38.) Others, such as Rappahannock County Registrar Kim

 McKiernan and James City County Registrar Diana Moorman took the time to explain why so

 many eligible citizen voters could end up on the VERIS cancellation reports. (See supra ¶¶ 39-

 41.) In addition to these direct messages, Defendants were forwarded emails documenting a

 conversation among elections officials lamenting PILF’s misuse of data. In it, Arlington

 Director of Elections Linda Lindberg also explained in detail why registered citizen voters could

 appear on the cancelation lists. (See supra ¶ 42.)3

        Moreover, Defendants’ associates have admitted to actual knowledge that many of the

 people included in the lists were eligible citizen voters. For example, PILF volunteer Keith

 Damon explained to Defendants that he had investigated some of the names on the list and that it

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         Rather than consider whether the opinions of expert election administrators might merit
 consideration, Defendants ignored their critiques, instead contorting them as evidence of a
 fabricated “cover-up” of non-citizen voting by officials. (See Alien Invasion II at 8, 10.)



                                                  21
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 26 of 37 PageID# 6204




 likely included citizens who were “incorrectly dropped” from the voter rolls. (See supra ¶ 46.)

 And PILF volunteer Steve Albertson suggested that “10-15%” of the names PILF obtained and

 published were “citizens who had trouble with the forms” (supra ¶ 34), and at his deposition,

 stated that Adams had given him the 10-15% figure (see Albertson Dep. 126:12-15).

        Not only did Defendants ignore the general fact that the cancellation lists they received

 included many eligible citizen voters, they defamed specific individuals whom they had been

 told reaffirmed their citizenship and had been adjudged eligible to vote. Most particularly

 relevant here, Latham sent PILF the affirmation of citizenship executed by Plaintiff Abby Jo

 Focht (now Abby Jo Gearhart), after and in response to receiving notice that she had been

 identified as a possible non-citizen. (See supra ¶ 36.)4 Nevertheless, she was included among

 the purported fraudulent voters in Alien Invasion II. Moreover, as mentioned, several registrars

 identified other specific cancelled registrants who subsequently reaffirmed their citizenship. Yet,

 each and every one of the individuals identified by Registrar Gunter and Registrar Latham as

 having subsequently affirmed their citizenship and re-registered to vote, as well as many of those

 identified by Registrar Ables, also nevertheless appeared on the list of supposed fraudulent

 voters appended to Alien Invasion II. Notably, the possibility that a significant number of the

 individuals that the Defendants smeared as fraudulent voters were, in fact, citizens voting legally,

 was openly discussed among the Defendants and their co-conspirators. As discussed above, for




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         Even after the plaintiffs filed suit, Mr. Bonilla and Ms. Freeman’s names remain
 published on the internet and defamed as fraudulent voters. And, as mentioned, PILF put out a
 press release linking to the defamatory reports as recently as May 2019.



                                                 22
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 27 of 37 PageID# 6205




 example, Keith Damon warned Reagan George, who then copied Mr. Adams, that many of the

 individuals the Alien Invasion reports would tar in fact appeared to be eligible citizen voters.5

        Despite repeated warnings and expressed acknowledgment that their lists included

 eligible citizen voters, Defendants not only went ahead with publication, but also failed to

 undertake any investigation before doing so. For instance, according to Noel Johnson,

 Defendants did not contact anyone named in the reports, including the Plaintiffs, to determine

 whether they were American citizens or to understand their explanation for having their voter

 registration canceled. (See, e.g., Johnson Dep. 83:10-22, 96:8-14, 98:21-99:2, 192:22-193:5.)

 Doing so would, apparently, have been contrary to a “policy” that Mr. Adams imposed. (PILF

 30(b)(6) Dep. 184:7-15, 185:12-16.)6

        Indeed, when indications of the need for investigation arose, PILF and Adams actively

 turned a blind eye. To take just one example, after being warned by Keith Damon about the

 inaccuracy of the data that he sought to publish, Mr. Adams was unfazed. He blamed state


 5
         Defendants will likely attempt to manufacture a genuine dispute of material fact by
 pointing to an email from Edgardo Cortes, in which he states that “[i]f an individual was
 previously canceled and then subsequently affirmed citizenship and was re-registered, they
 would no longer appear on” the VERIS Report that PILF received and publicized. (Defs.’
 Answer Ex. B.) In most cases, this is untrue. (See VDOE 30(b)(6) Piper Dep. 188:22-189:5.) In
 any event, in light of the mountains of warnings provided to Defendants, a single email from Mr.
 Cortes does not suffice to produce a jury question on Defendants’ actual or constructive
 knowledge. That is so because a list of people whose registration was canceled and who failed to
 re-register is not the same thing as a list of genuine non-citizens. Eligible citizen voters might
 not have re-registered for any number of reasons, not least that they may not even be aware that
 their registration had been canceled until they show up at a polling place, perhaps years later.
 And, Mr. Cortes testified that he made this fact clear to PILF. (See Cortes Dep. 267:25-268:17.)
 6
         It appears that Defendants failed to clarify the meaning of the lists on which they based
 their accusations with anyone. Despite extensive communication with former Virginia Board of
 Elections Secretary Don Palmer, Adams did not recall ever asking him about the meaning of the
 VERIS reports PILF received and published. (See PILF 30(b)(6) Dep. 177:11-15.) Nor did he
 ask Cameron Quinn, another statewide former statewide elections chief, or Hans von Spakovsky,
 a self-declared elections “expert” on PILF’s Board of Directors. (See id. 177:16-178:9.)



                                                  23
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 28 of 37 PageID# 6206




 procedures for any “false positives” and suggested that PILF would push forward with naming

 eligible voters as fraudulent registrants because it was “imperative” to expose “glitches” in

 Virginia’s registration system. (See PILF 30(b)(6) Dep. Ex. 24, at 1.) PILF employee Logan

 Churchwell, too, seemed to relish the possibility of falsely labeling citizen registrants as

 fraudulent voters, suggesting that they could “convert pushback into official confusion” and

 arguing that “[t]he fog of war favors the aggressor . . . .” (Id.)

        Finally, with respect to the individual Plaintiffs Bonilla and Freeman, Defendants labeled

 them “non-citizens,” “illegal registrants” and people who committed “felonies” despite having

 evidence that they swore to being citizens of the United States. (See generally Alien Invasion II;

 see also supra ¶ 13.) At best, Defendants had conflicting information in Plaintiffs’ appearance

 on VERIS Reports while possessing their voter registration forms indicating citizenship. Under

 the circumstances, Defendants should have investigated prior to publishing, but they did not,

 even though they had the contact information to facilitate that investigation. See, e.g., Askew,

 722 S.E. at 486 (noting that the negligence standard is met by “failing to ascertain facts on which

 the publication is based” (citation omitted)). And with respect to Plaintiff Gearhart, the evidence

 is conclusive that she was wrongly labeled a “non-citizen” in Alien Invasion II who committed a

 felony by being a non-citizen registrant. (See supra ¶¶ 3, 16, 36.)

        In short, the evidence is clear and uncontroverted. PILF and Adams were told time and

 time again that many of the thousands of people they ultimately accused of voter fraud were

 eligible U.S. citizens doing nothing more than excising their right to vote. They not only failed

 to heed these warnings, they failed to even investigate them (as Virginia law requires). Plaintiffs

 are entitled to summary judgment on their defamation claims.




                                                   24
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 29 of 37 PageID# 6207




 II.    THE COURT SHOULD GRANT SUMMARY JUDGMENT ON DEFENDANTS’
        AFFIRMATIVE DEFENSES UNDER THE FIRST AMENDMENT AND
        VIRGINIA’S IMMUNITY PROVISION.

        A.      The Court Should Grant Summary Judgment For Plaintiffs On The
                First Amendment Defenses To Their State And Federal Claims.

        Defendants claim that Plaintiffs’ claims infringe Defendants’ First Amendment “right to

 ‘speak, write, and publish’ on issues of election integrity.” (Defs.’ Answer at 55-56 (citation

 omitted).)7 Although their Answer raises this defense only against Plaintiffs’ defamation claim

 (id.), they have also suggested that they seek to raise a similar defense against Plaintiffs’ federal

 claims, though Defendants have never articulated the contours of that defense. The defense fails

 as a matter of law as to Plaintiffs’ (1) defamation and (2) federal voter intimidation claims.

                1.      Defendants have no First Amendment defense to Plaintiffs’ state-law
                        defamation claim.

        Defendants’ First Amendment defenses presuppose that their false and defamatory

 statements are protected by a constitutional privilege merely because they write on a matter of

 purported public concern—“election integrity.” That assumption is wrong. The First

 Amendment does not protect false statements, and in a case like this one involving Plaintiffs who

 are not public figures, negligently made false statement suffice to defeat a First Amendment

 defense.

        It is well established that private persons like Plaintiffs may establish liability for

 defamation notwithstanding the First Amendment’s protections so long as the underlying state

 defamation law requires proof of some degree of fault—e.g., at least negligence. Gertz v. Robert
 7
         Plaintiffs relatedly assert defenses styled as “fair report” and “fair comment” privileges.
 (Defs.’ Answer at 56.) These defenses are plainly rooted in the First Amendment, and they are
 plainly subject to summary judgment as well. See Horne v. WTVR, LLC, No. 3:16-cv-0000092-
 JAG, 2017 WL 1330200 (E.D. Va. Apr. 6, 2017) (television station not entitled to fair report
 privilege when it added its own commentary to school district statement to imply plaintiff
 committed a crime). Thus, this motion addresses all three defenses.



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Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 30 of 37 PageID# 6208




 Welch, Inc., 418 U.S. 323, 340 (1974).8 That is the case here. Under Virginia law, a negligence

 standard applies when the content of a “defamatory statement makes substantial danger to

 reputation apparent.” Gazette, 325 S.E.2d at 725.9

        Defendants have argued that they enjoy a First Amendment right to engage in speech

 regarding illegal voting. But Gertz rejects the view that speakers have a constitutional privilege

 to negligently defame private persons so long as the subject of the defamatory statement is a

 matter of “public or general interest.” 418 U.S. at 346. Instead, Gertz instructs that the

 constitutional balance weighs in favor of a defamation plaintiff provided that a defendant acted

 negligently in publishing false statements—for example, by failing “to investigate or to check the

 accuracy of a false statement.” Hatfill v. New York Times Co., 532 F.3d 312, 317 (4th Cir. 2008)

 (applying Gertz standard). That is because “there is no constitutional value” in false and

 defamatory statements of fact about private persons, as “[n]either the intentional lie nor the

 careless error materially advances society’s interest in ‘uninhibited, robust, and wide-open’

 debate on public issues.” Gertz, 418 U.S. at 340 (quoting Sullivan, 376 U.S. at 270).

        As a result, Defendants’ First Amendment defenses to Plaintiffs’ defamation claim fail as

 a matter of law for the same reason that Plaintiffs are entitled to summary judgment on the

 defamation claim: there are no genuine disputes of material fact that this Court needs to resolve

 before concluding that Defendants were—at the very least—negligent as a matter of law in


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         Gertz explained that the First Amendment imposes the higher reckless-or-knowing-falsity
 standard enunciated in New York Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964), on
 defamation plaintiffs who qualify as “public officials” or “public persons,” Gertz, 418 U.S. at
 345, 351, but there is not even a scintilla of evidence that would support treating any individual
 Plaintiff as such here. The individual Plaintiffs are not public officials, nor are they public
 persons, see id. at 351-52.
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         As discussed in Part I above, that standard is met here because Defendants have accused
 Plaintiffs of committing felonies.



                                                  26
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 31 of 37 PageID# 6209




 accusing Plaintiffs of committing multiple felonies. (See supra Part I.) Accordingly, the Court

 should grant partial summary judgment that the Defendants have no First Amendment defense to

 Plaintiffs’ state-law defamation claim.

                2.      Defendants have no First Amendment defense to Plaintiffs’ federal claims
                        under § 11(b) of the Voting Rights Act and the Ku Klux Klan Act’s
                        support-or-advocacy clause.

        Defendants have suggested at times—though critically not in their Answer—that Section

 11(b) of the Voting Rights Act and the support-or-advocacy clause of the Klan Act might be

 unconstitutional as applied because Defendants were supposedly engaged in political speech.

 Plaintiffs are also entitled to partial summary judgment on any such defense.

        As a threshold matter, Defendants have waived any First Amendment defense to the

 federal claims by failing to plead it prior to the summary-judgment stage of these proceedings.

 Suntrust Mortg. v. United Guar. Residential Ins. Co. of N.C., 508 F. App’x 243, 252 (4th Cir.

 2013) (“[F]ailure to plead an affirmative defense as required by Federal Rule 8(c) results in the

 waiver of that defense and its exclusion from the case . . . .” (second alteration in original)

 (citation omitted)). Because it was not pled, Plaintiffs had little ability to develop a response to

 this formless defense during discovery and are left to aim at shadowy arguments at summary

 judgment, to their great prejudice. For this reason alone, the Court should grant summary

 judgment on any such defense.

        In any event, any such defense would fail as a matter of law. The voter-intimidation

 provisions of the Voting Rights Act and Klan Act regulate conduct and only incidentally burden

 speech, and are therefore subject only to the lower level of constitutional scrutiny for “content-

 neutral regulation[s] of conduct.” Wisconsin v. Mitchell, 508 U.S. 476, 487 (1993); Am. Life

 League, Inc. v. Reno, 47 F.3d 642, 650 & n.2 (4th Cir. 1995) (holding that voter-intimidation ban

 was a viewpoint- and content-neutral regulation of conduct). As such, they pass constitutional


                                                   27
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 32 of 37 PageID# 6210




 muster if they “further[] an important or substantial governmental interest . . . unrelated to the

 suppression of free expression” and “the incidental restriction on alleged First Amendment

 freedoms is no greater than is essential to the furtherance of that interest.” United States v.

 O’Brien, 391 U.S. 367, 377 (1967). Both statutes easily pass that test because they seek to

 protect free and fair elections, which is not only a substantial but in fact a compelling interest,

 see Burson v. Freeman, 504 U.S. 191, 199 (1992) (plurality opinion), that is sufficiently

 important to overcome incidental burdens on expression, see John Doe No. 1 v. Reed, 561 U.S.

 186, 197 (2010); cf. Nat’l Fed. of the Blind v. FTC, 420 F.3d 331, 340 (4th Cir. 2005) (“[A]

 proffered government interest . . . is more compelling when the interest itself is the basis of a

 constitutional right.”).

         For all these reasons, Defendants’ First Amendment defenses—whatever their scope—

 fail as a matter of law, entitling Plaintiffs to partial summary judgment as to those defenses.

         B.      The Court Should Grant Summary Judgment For Plaintiffs On
                 Defendants’ Affirmative Defense Under Virginia’s Immunity
                 Provision.

         Defendants also interpose an affirmative defense under Virginia’s Immunity Provision,

 (see Defs.’ Answer at 54-55), which shields persons from civil liability for a defamation claim

 that is based solely on the publication of statements regarding “matters of public concern that

 would be protected under the First Amendment.” Va. Code Ann. § 8.01-223.2. The defense

 fails as a matter of law for three reasons, each independently entitling Plaintiffs to summary

 judgment.

         First, as previously discussed, the defamatory statements in this case were not about

 “matters of public concern . . . protected under the First Amendment.” Id. Rather, they were

 false and injurious statements of fact, not opinion, entitled to no First Amendment protection




                                                   28
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 33 of 37 PageID# 6211




 whatsoever under these circumstances. See supra Part II.A.1). Accordingly, those statements

 fail to meet the threshold requirement for protection under the Immunity Provision.

        Second, the Immunity Provision does not apply retroactively here. Before July 1, 2017,

 the Immunity Provision did not cover defamation claims, only tortious-interference claims.

 Alien Invasion I and II were published in September 2016 and May 2017, respectively.

 Accordingly, the Immunity Provision cannot apply here and cannot shield the Defendants from

 liability—unless the amendment operates retroactively. But it does not. Virginia courts are

 “guided by the fundamental principles of statutory construction that retroactive laws are not

 favored, and that a statute is always construed to operate prospectively unless a contrary

 legislative intent is manifest.” Berner v. Mills, 579 S.E.2d 159, 161 (Va. 2003). New laws—and

 amendments to existing ones—“will apply only to future cases unless there is something in the

 very nature of the case, or in the language of the new provision, which shows that the new law

 was intended to have a retrospective effect.” Taylor v. Commonwealth, 604 S.E.2d 103, 106

 (Va. Ct. App. 2004). Here, “the amended version of [the Immunity Provision] contains no

 language—much less clear, explicit, and unequivocal language—indicating that its provisions

 should be applied retroactively.” Id. Indeed, the lack of any such language, coupled with the

 strong presumption against retroactivity, recently led a Virginia trial court to conclude that the

 Immunity Provision’s 2017 amendment cannot be granted retroactive effect. See Will Nesbitt

 Realty, LLC v. Jones, No. CL-2016-14234, 2018 WL 2035956, letter op. at *15-16 (Va. Cir. Ct.

 Apr. 30, 2018). Accordingly, the Provision does not apply here.

        Third, even if the Immunity Provision were applicable here, it could not benefit these

 Defendants. The undisputed facts establish as a matter of law that Defendants made their

 statements with at least “constructive” knowledge that they were false. See Va. Code Ann. §




                                                  29
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 34 of 37 PageID# 6212




 8.01-223.2. In this context, “constructive” knowledge includes negligently made false

 statements—such as the sort of statements Defendants made here.

        The Immunity Provision “is to be applied according to its plain language.” Smithfield

 Foods, Inc. v. United Food & Commercial Workers Int’l Union, 593 F. Supp. 2d 840, 847 (E.D.

 Va. 2008). No Virginia case construes the Immunity Provision’s “constructive knowledge”

 term. But “constructive knowledge” means “[k]nowledge that one using reasonable care or

 diligence should have, and therefore that is attributed by law to a given person.” Constructive

 Knowledge, BLACK’S LAW DICTIONARY (10th ed. 2014). The term appears often in premises-

 liability cases, where the applicable negligence standard asks “whether the Defendants had actual

 or constructive notice, that is, whether they knew or should have known, of” the dangerous

 condition that caused injury. Ashby v. Faison & Assocs., Inc., 440 S.E.2d 603, 605 (Va. 1994)

 (emphasis added). “[C]onstructive knowledge” is thus a recognized means of “establish[ing]

 a prima facie case of negligence.” Grim v. Rahe, Inc., 434 S.E.2d 888, 889-90 (Va. 1993).

        For all the reasons already set forth in detail in Part I, above, the evidence establishes

 beyond any reasonable dispute that Defendants at least acted with negligence in making false

 statements about Plaintiffs—indeed, in light of the repeated warnings Defendants received and

 their internal acknowledgments that the lists they were trumpeting as evidence that non-citizens

 were voting in fact proved no such thing, the evidence would satisfy the higher standards of

 reckless indifference or actual knowledge. Accordingly, the Court should grant partial summary

 for Plaintiffs on Defendants’ affirmative defense under the Immunity Provision.

                                          CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that this Court grant their motion

 for partial summary judgment as to Plaintiffs’ defamation claim and as to Defendants’

 affirmative defenses under the First Amendment and Virginia’s Immunity Provision.


                                                  30
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 35 of 37 PageID# 6213




 Dated: June 14, 2019      Respectfully submitted,



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                                         31
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 36 of 37 PageID# 6214




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                                         32
Case 1:18-cv-00423-LO-IDD Document 180 Filed 06/14/19 Page 37 of 37 PageID# 6215




                                   CERTIFICATE OF SERVICE


 I, Nicole M. Cleminshaw, hereby certify that on June 14, 2019, I electronically filed the

 foregoing Memorandum of Law in Support of Plaintiffs’ Motion for Partial Summary Judgment

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                                                 33
